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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (CSBN 0722)
3    Chief, Criminal Division
4    SUSAN KNIGHT (CSBN 209013)
     Assistant United States Attorney
5
          150 Almaden Blvd., Suite 900
6         San Jose, California 95113
          Telephone: (408) 535-5056
7         FAX: (408) 535-5066
          Susan.Knight@usdoj.gov
8
     Attorneys for Plaintiff
9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                            SAN JOSE DIVISION
12                                                                        *E-FILED - 4/13/06*
13   UNITED STATES OF AMERICA,                      )       No. CR 06-00074 RMW
                                                    )
14           Plaintiff,                             )
                                                    )       STIPULATION AND
15               v.                                 )       ORDER EXCLUDING TIME
                                                    )
16   JAMES FITZGERALD,                              )
                                                    )
17           Defendant.                             )       SAN JOSE VENUE
                                                    )
18                                                  )
19
20        On March 13, 2006, the parties in this case appeared before the Court for an initial

21   appearance. Assistant United States Attorney Susan Knight informed the Court that the

22   defendant was arrested in Monterey County on February 16, 2006, and was detained with an

23   unknown release date. Therefore, the parties requested that the matter be continued to April 3,

24   2006 at 9:00 a.m. Based on the defendant’s unavailability, the parties requested an exclusion of

25   time under the Speedy Trial Act from March 13, 2006 until April 3, 2006. The parties agree and

26   stipulate that an exclusion of time is appropriate based on the defendant’s incarceration in

27   Monterey County Jail. See 18 U.S.C. § 3161(h)(3)(A).

28   //


     STIPULATION AND ORDER
     NO . 06-00074 RMW                                  1
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1    SO STIPULATED:                               KEVIN V. RYAN
                                                  United States Attorney
2
3    DATED:                                       _______/s/__________________________
                                                  SUSAN KNIGHT
4                                                 Assistant United States Attorney
5    DATED:                                       _______/s/__________________________
                                                  LARA S. VINNARD
6                                                 Assistant Federal Public Defender
7
8       Accordingly, for good cause shown, the Court HEREBY ORDERS that time be excluded
9    under the Speedy Trial Act from March 13, 2006 until April 3, 2006. The Court finds, based on
10   the defendant’s current incarceration in Monterey County, that the ends of justice served by
11   granting the requested continuance outweigh the best interest of the public and the defendant in a
12   speedy trial. The Court therefore concludes that this exclusion of time should be made based
13   upon the defendant’s unavailability pursuant to 18 U.S.C. § 3161(h)(3)(A).
14   SO ORDERED.
15
16          4/13/06
     DATED:______________                           /s/ Ronald M. Whyte
                                                  ________________________________________
                                                  RONALD M. WHYTE
17                                                United States District Judge
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     STIPULATION AND ORDER
     NO . 06-00074 RMW                               2
